UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                                           5/9/2018
UNITED STATES OF AMERICA,                                 :
                                                          :
                                                          :
         v.                                               :      S5 15 Cr. 706 (VSB)
                                                          :
                                                          :            ORDER
NG LAP SENG, et al.,                                      :
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VERNON S. BRODERICK, United States District Judge:

        On September 26, 2017, Defendant Ng Lap Seng (“Defendant” or “Ng”) filed a motion

for a new trial under Rule 33 of the Federal Rules of Criminal Procedure. (Doc. 653.) Ng also

requested that I direct the Government to conduct an independent investigation into Defendant

Francis Lorenzo’s (“Lorenzo”) alleged perjury during trial, or in the alternative, to permit Ng to

issue a defense subpoena under Rule 17 of the Federal Rules of Criminal Procedure. (Id.) Ng

has not established a basis for a new trial or for me to direct the Government to conduct an

investigation into Lorenzo’s alleged perjury or authorize a defense subpoena. Accordingly, Ng’s

motion is DENIED.

        An Opinion and Order explaining my decision has been filed under seal because it relies

upon material that has been filed under seal. A copy has also been sent to counsel by email. By

May 16, 2018, the parties shall provide the Court with proposed redactions to the Opinion and

Order, if any. I will consider the parties’ proposed redactions and will file a redacted version of

the Opinion and Order on the public docket.
      The Clerk of Court is respectfully directed to terminate the pending motion. (Doc. 653.)

SO ORDERED.

Dated: May 9, 2018
       New York, New York

                                                 ______________________
                                                 Vernon S. Broderick
                                                 United States District Judge
